Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 1



                                   No. 16-4040
                                      IN THE
               United States Court of Appeals
                             FOR THE TENTH CIRCUIT

                              THE SCO GROUP, INC.,
                                by and through the
                          Chapter 7 Trustee in Bankruptcy,
                                 Edward N. Cahn,
                                                             Plaintiff-Appellant,
                                         v.
               INTERNATIONAL BUSINESS MACHINES CORPORATION,
                                                    Defendant-Appellee.

                  ON APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF UTAH
                           THE HONORABLE DAVID NUFFER
                            CASE NO. 2:03-CV-00294-DN


          BRIEF OF DEFENDANT-APPELLEE INTERNATIONAL
                BUSINESS MACHINES CORPORATION

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    November 2, 2016

                       ORAL ARGUMENT REQUESTED
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 2



                  CORPORATE DISCLOSURE STATEMENT

              Pursuant to Rule 26.1 of the Federal Rules of Appellate Procedure,

 IBM states that it has no parent corporation and that no publicly held corporation

 owns 10% or more of its stock.
Appellate Case: 16-4040              Document: 01019715004                   Date Filed: 11/02/2016               Page: 3



                                         TABLE OF CONTENTS

 TABLE OF AUTHORITIES ....................................................................................iv
 STATEMENT OF THE ISSUES............................................................................... 1
 STATEMENT OF THE CASE .................................................................................. 2
          A.       IBM, Its Products and Projects.............................................................. 3
          B.       SCO and Its Turn toward Litigation...................................................... 4
          C.       Most of SCO’s Claims Are Finally Resolved Against It ...................... 5
          D.       The Rest of SCO’s Claims Are Rejected .............................................. 6
          E.       This Appeal ........................................................................................... 7
 STATEMENT OF FACTS ........................................................................................ 9
          A.       SCO’s Unfair Competition Claim ......................................................... 9
          B.       SCO’s Tortious Interference Claims ................................................... 11
          C.       SCO’s Proposed Copyright Claim ...................................................... 13
 SUMMARY OF ARGUMENT ............................................................................... 15
 STANDARD OF REVIEW ..................................................................................... 17
 ARGUMENT ........................................................................................................... 18
 I.       THE DISTRICT COURT PROPERLY REJECTED SCO’S UNFAIR
          COMPETITION CLAIM .............................................................................. 18
          A.       SCO Adduced No Evidence of Unfair Competition by IBM ............. 18
                   1.       SCO’s Unfair Competition Claim Is Barred by the
                            Independent Tort Doctrine ........................................................ 19
                   2.       SCO’s Fiduciary Duty Argument Is Unsupported.................... 23
                   3.       SCO Lacks Standing To Pursue Its Claim ................................ 26
          B.       SCO’s Unfair Competition Claim Is Untimely ................................... 27
                   1.       The JDA’s Two-Year Limitations Provision Applies to
                            SCO’s Unfair Competition Claim............................................. 27
                   2.       SCO’s Claim Was Untimely Under the Two-Year
                            Limitations Provision ................................................................ 29
          C.       SCO’s Claim Also Is Preempted by Federal Copyright Law ............. 30

                                                            ii
Appellate Case: 16-4040              Document: 01019715004                    Date Filed: 11/02/2016               Page: 4



 II.      THE DISTRICT COURT PROPERLY ENTERED SUMMARY
          JUDGMENT REGARDING SCO’S INTERFERENCE CLAIMS .............. 33
          A.       SCO Failed To Adduce Admissible Evidence of Actionable
                   Interference by IBM ............................................................................ 33
                   1.       IBM Did Not Interfere with Any of the Identified
                            Relationships ............................................................................. 33
                   2.       SCO’s Claim of Indirect Interference Is Baseless .................... 36
          B.       IBM Did Not Cause Any Injury to SCO ............................................. 37
                   1.       SCO Failed To Identify Any Damages Resulting from
                            IBM’s Alleged Interference ...................................................... 37
                   2.       SCO Cannot Show IBM Caused the Alleged Damages ........... 39
          C.       IBM Did Not Act by Improper Means and IBM’s Alleged
                   Conduct Is Privileged .......................................................................... 42
                   1.       IBM’s Alleged Acts Were Not Undertaken by Improper
                            Means ........................................................................................ 42
                   2.       IBM’s Alleged Acts Are Privileged as They Advance
                            IBM’s Legitimate Competitive Interests .................................. 43
 III.     THE DISTRICT COURT PROPERLY DENIED SCO’S MOTION
          FOR LEAVE TO AMEND TO ASSERT A COPYRIGHT CLAIM ........... 44
          A.       SCO Failed To Satisfy Rule 16(b) or the Court’s Order of
                   June 10, 2004 ....................................................................................... 44
          B.       Leave To Amend Is Improper Under Rule 15(a) ................................ 46
                   1.       SCO Unduly Delayed Moving To Amend Its Complaint ........ 47
                   2.       IBM Would Have Been Unduly Prejudiced by the
                            Addition of the Copyright Claim .............................................. 47
                   3.       SCO Moved To Amend Its Complaint Solely in an
                            Attempt To Delay Further the Resolution of the Case ............. 50
                   4.       The Proposed Copyright Claim Is Futile .................................. 52
 CONCLUSION ........................................................................................................ 56




                                                            iii
Appellate Case: 16-4040                Document: 01019715004                    Date Filed: 11/02/2016                Page: 5



                                         TABLE OF AUTHORITIES

                                                                                                                    Page(s)
 Cases

 Associated Diving and Marine Contractors v. Union Pac. RR,
    No. 2:01 CV330, 2003 U.S. Dist. LEXIS 21560 (D. Utah July 10,
    2003) ................................................................................................................... 41

 Astroworks, Inc. v. Astroexhibit, Inc.,
    257 F. Supp. 2d 609 (S.D.N.Y. 2003) ................................................................ 23

 Banco Industrial de Venezuela, C.A. v. CDW Direct, L.L.C.,
   888 F. Supp. 2d 508 (S.D.N.Y. 2012) ................................................................ 25

 Bauchman v. West High School,
   132 F.3d 542 (10th Cir. 1997) ............................................................................ 52

 Birch v. Polaris Indus.,
    812 F.3d 1238 (10th Cir. 2015) .......................................................................... 44

 Briarpatch Ltd., L.P. v. Phoenix Pictures, Inc.,
    373 F.3d 296 (2d Cir. 2004) .........................................................................30, 31

 Bryant v. Farmers Ins. Exch.,
    432 F.3d 1114 (10th Cir. 2005) .......................................................................... 35

 Cambridge Elecs. Corp. v. MGA Elecs., Inc.,
   227 F.R.D. 313 (C.D. Cal. 2004) ........................................................................ 38

 Cambridge Nutrition A.G. v. Fotheringham,
   840 F. Supp. 299 (S.D.N.Y. 1994) ..................................................................... 28

 Capitol Records, Inc. v. Naxos of Am., Inc.,
   372 F.3d 471 (2d Cir. 2004) ............................................................................... 27

 Clark-Fitzpatrick, Inc. v. Long Island Rail Road Co.,
    70 N.Y.2d 382 (N.Y. 1987) ................................................................................ 19

 Cosy Goose Hellas v. Cosy Goose USA, Ltd.,
   581 F. Supp. 2d 606 (S.D.N.Y. 2008) ................................................................ 25


                                                               iv
Appellate Case: 16-4040                Document: 01019715004                    Date Filed: 11/02/2016               Page: 6



 Crocker v. Piedmont Aviation,
   311 U.S. App. D.C. 1, 49 F.3d 735 (1995) ......................................................... 49

 D’Zurella v. Kansas,
   No. 90-3202, 930 F.2d 33, 1991 WL 47101 (10th Cir. Mar. 18,
   1991) ................................................................................................................... 51

 Deer Crest Associates I, L.C. v. Deer Crest Resort Group, L.L.C.,
   No. 2:04-CV-00220-TS, 2006 WL 722216 (D. Utah Mar. 15,
   2006) .............................................................................................................19, 20

 Dona Ana Mut. Domestic Water Consumers Ass’n v. City of Las
   Cruces,
   516 F.3d 900 (10th Cir. 2008) ............................................................................ 35

 Durham Indus. v. Tomy Corp.,
   630 F.2d 905 (2d Cir. 1980) ............................................................................... 32

 Ehat v. Tanner,
   780 F.2d 876 (10th Cir. 1985) ............................................................................ 32

 Farthing v. City of Shawnee, Kan.,
   39 F.3d 1131 (10th Cir. 1994) ............................................................................ 17

 Fierro v. Norton,
    152 Fed. App’x 725 (10th Cir. 2005) ................................................................. 38

 First Sec. Bank of Utah N.A. v. Banberry Dev. Corp.,
    786 P.2d 1326 (Utah 1990) ................................................................................. 24

 Frank v. U.S. West, Inc.,
    3 F.3d 1357 (10th Cir. 1993) .............................................................................. 47

 Gates Rubber Co. v. Bando Chem. Indus., Ltd.,
   9 F.3d 823 (10th Cir. 1993) ................................................................................ 31

 Grossman v. Novell, Inc.,
   120 F.3d 1112 (10th Cir. 1997) .......................................................................... 17

 Grynberg Prod. Corp. v. Susman Godfrey, L.L.P.,
   No. 10-1248, 2012 U.S. App. LEXIS 3316 (10th Cir. Feb. 16,
   2012) ................................................................................................................... 49

                                                               v
Appellate Case: 16-4040            Document: 01019715004                Date Filed: 11/02/2016           Page: 7



 Gull Labs., Inc. v. Diagnostic Tech., Inc.,
   695 F. Supp. 1151 (D. Utah 1988)...................................................................... 43

 Harolds Stores, Inc. v. Dillard Dep’t Stores, Inc.,
   82 F.3d 1533 (10th Cir. 1996) ...................................................................... 30, 31

 Incorp. Village of Saltaire v. Zagata,
    720 N.Y.S.2d 200 (App. Div. 2001) ................................................................... 27

 Kerry v. Southwire Co. & Affiliates Employee Benefits Plan,
   324 F. Supp. 2d 1225 (D. Utah 2004)................................................................. 27

 Kilcrease v. Domenico Transp. Co.,
    828 F.3d 1214 (10th Cir. 2016) .......................................................................... 38

 L&M Enters., Inc. v. BEI Sensors & Sys. Co.,
   231 F.3d 1284 (10th Cir. 2000) .......................................................................... 39

 Las Vegas Ice and Cold Storage Co. v. Far West Bank,
    893 F.2d 1182 (10th Cir. 1990) .......................................................................... 47

 Leigh Furniture, 657 P.2d at 308 ............................................................................. 42

 Lexmark Int’l. Inc. v. Static Control Components, Inc.,
    387 F.3d 522 (6th Cir. 2004) .............................................................................. 31

 Martinez v. CO2 Servs.,
   12 Fed. App’x 689 (10th Cir. 2001) ................................................................... 41

 Medinol Ltd. v. Boston Scientific Corp.,
   346 F. Supp. 2d 575 (S.D.N.Y. 2004) ..........................................................19, 20

 Monsanto Co. v. McFarling,
   302 F.3d 1291 (Fed. Cir. 2002) .......................................................................... 28

 Muller-Paisner v. TIAA,
   289 F. App’x 461 (2nd Cir. 2008) ...................................................................... 24

 Niagara Mohawk Power Corp. v. Stone & Webster Eng’g Corp.,
    No. 88-CV-819, 1992 WL 121726 (N.D.N.Y May 23, 1992) ........................... 25

 Omron Healthcare, Inc. v. Maclaren Exports Ltd.,
   28 F.3d 600 (7th Cir. 1994) ................................................................................ 53
                                              vi
Appellate Case: 16-4040            Document: 01019715004                Date Filed: 11/02/2016            Page: 8



 Oriskany Cent. Sch. Dist. v. Edmund J. Booth Architects,
    615 N.Y.S.2d 160 (App. Div. 1994) ................................................................... 29

 Penato v. George,
   383 N.Y.S.2d 900 (N.Y. App. Div. 1976) .......................................................... 25

 R.W. Beck, Inc. v. E3 Consulting, LLC,
    577 F.3d 1133 (10th Cir. 2009) .......................................................................... 32

 Richison v. Ernest Grp.,
    634 F.3d 1123 (10th Cir. 2011) .......................................................................... 35

 Roche Diagnostics GMBH v. Enzo Biochem, Inc.,
   992 F. Supp. 2d 213 (S.D.N.Y. 2013) ................................................................ 23

 Rockwell Int’l Corp. v. Goss Graphic Sys., Inc.,
   No. 00-8763, 2001 WL 293818 (S.D.N.Y. Mar. 27, 2001) ............................... 28

 SCO Group, Inc. v. Novell, Inc.,
   439 F. App’x 688 (10th Cir. 2011) ................................................................... 6, 7

 SCO Group, Inc. v. Novell, Inc.,
   578 F.3d 1201 (10th Cir. 2009) ............................................................................ 6

 Sil-Flo, Inc. v. SFHC, Inc.,
     917 F.2d 1507 (10th Cir. 1990) .......................................................................... 52

 Tadlock v. LaHood,
   550 Fed. App’x 541 (10th Cir. 2013) ................................................................. 38

 TeeVee Toons, Inc. v. Gerhard Schubert GmbH,
    No. 00-5189, 2006 WL 2463537 (S.D.N.Y. Aug. 23, 2006) ............................. 26

 Truck Ins. Exch. v. MagneTek, Inc.,
    360 F.3d 1206 (10th Cir. 2004) .......................................................................... 41

 Turtur v. Rothschild Registry Int’l, Inc.,
    26 F.3d 304 (2d Cir. 1994) ................................................................................. 28

 TVT Records v. Island Def Jam Music Grp.,
   412 F.3d 82 (2d Cir. 2005) ................................................................................. 19


                                                        vii
Appellate Case: 16-4040               Document: 01019715004                   Date Filed: 11/02/2016              Page: 9



 Twentieth Century Fox Film Corp. v. Marvel Enters., Inc.,
   155 F. Supp. 2d 1 (S.D.N.Y. 2001) .................................................................... 32

 Statutes & Rules
 17 U.S.C. § 102 ........................................................................................................ 30

 17 U.S.C. § 103 ........................................................................................................ 30

 17 U.S.C. § 106 ..................................................................................................30, 31

 N.Y. C.P.L.R. 201 (McKinney 2006) ...................................................................... 27

 Copyright Act Section 301....................................................................................... 30

 Fed. R. Civ. P. 15(a).......................................................................................1, 44, 46

 Fed. R. Civ. P. 16(b) ..........................................................................................44, 45

 Fed. R. Civ. P. 30(b)(6)......................................................................................37, 39

 Fed. R. Civ. P. 37(c)(1) ............................................................................................ 38




                                                            viii
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016     Page: 10



                          PRIOR AND RELATED APPEALS

              There are no related or prior related appeals in this case. However,

 there were two appeals to this Court in a separate but factually related case, The

 SCO Group, Inc. v. Novell, Inc., No. 2:04-CV-00139-TS:

             No. 08-4217, in which SCO, as Appellant, submitted an appeal on

              March 4, 2009, from the district court’s order granting summary

              judgment in favor of Novell, Inc. On August 24, 2009, this Court

              affirmed the district court’s order in part, reversed the order in part,

              and remanded. 578 F.3d 1201 (10th Cir. 2009).

             No. 10-4122, in which SCO, as Appellant, submitted an appeal on

              September 9, 2010, from a jury verdict following a three-week trial,

              from the district court’s subsequent findings of fact and conclusions of

              law, and from the district court’s order denying SCO’s renewed

              motion for judgment as a matter of law or, in the alternative, for a new

              trial. On August 30, 2011, this Court affirmed. 439 F. App’x 688

              (10th Cir. 2011).




                                           ix
Appellate Case: 16-4040   Document: 01019715004    Date Filed: 11/02/2016    Page: 11



                                  GLOSSARY


 AT&T                              AT&T Bell Laboratories
 UNIX                              A computer operating system originally
                                   developed by AT&T
 Linux                             An “open-source” computer operating system
                                   developed by thousands of developers
                                   worldwide
 AIX                               IBM’s computer operating system that is a
                                   flavor of UNIX
 Caldera                           Caldera International, Inc.
 Novell                            Novell, Inc.
 Santa Cruz                        The Santa Cruz Operation, Inc. (sometimes
                                   colloquially known as “SCO”; the “SCO”
                                   referred to herein is not Santa Cruz)
 IBM                               International Business Machines Corporation
 SCO                               The SCO Group, Inc. (formerly known as
                                   Caldera Systems, Inc.)
 Project Monterey                  The joint development project between IBM
                                   and Santa Cruz
 JDA                               The joint development agreement signed
                                   between IBM and Santa Cruz
 BayStar                           BayStar Capital Management, LLC
 HP                                Hewlett-Packard Company
 Oracle                            Oracle Corporation
 Computer Associates               Computer Associates International, Inc.
 Intel                             Intel Corporation
 OpenSource Conference             The 2004 conference hosted by John Terpstra
                                   in Scottsdale, Arizona
 TI Mot.                           IBM’s Motion for Summary Judgment on the
                                   Tortious Interference Claims



                                        x
Appellate Case: 16-4040   Document: 01019715004   Date Filed: 11/02/2016   Page: 12



 TI Opp.                           SCO’s Opposition to Summary Judgment on
                                   the Tortious Interference Claims
 TI Reply                          IBM’s Reply in Further Support of the Motion
                                   for Summary Judgment on the Tortious
                                   Interference Claims
 UC Mot.                           IBM’s Motion for Summary Judgment on the
                                   Unfair Competition Claim
 UC Opp.                           SCO’s Opposition to Summary Judgment on
                                   the Unfair Competition Claim
 UC Reply                          IBM’s Reply in Further Support of the Motion
                                   for Summary Judgment on the Unfair
                                   Competition Claim




                                       xi
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016       Page: 13



                          STATEMENT OF THE ISSUES

              At issue on this appeal is whether the district court properly brought

 SCO’s litigation to a close after more than a decade—specifically:

       (1)    Whether the district court correctly granted summary judgment on

              SCO’s unfair competition claim, where (i) SCO adduced no evidence

              of unfair competition and SCO’s claim was barred by the independent

              tort doctrine, (ii) the claim was untimely and (iii) the claim was

              preempted by federal copyright law;

       (2)    Whether the district court correctly granted summary judgment on

              SCO’s interference claims, where (i) SCO failed to adduce any

              evidence of actionable interference, (ii) SCO failed to show IBM

              caused SCO’s alleged injury and (iii) IBM did not act by improper

              means and IBM’s alleged conduct was privileged; and

       (3)    Whether the district court correctly denied SCO’s motion for leave to

              file a fourth complaint adding a copyright claim, where (i) SCO failed

              to show good cause for its delay in seeking leave to amend and (ii)

              SCO failed to meet the requirements of Rule 15(a).
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 14



                           STATEMENT OF THE CASE

              This case concerns the misguided effort of a failing start-up to

 accomplish through litigation (and the threat of litigation) that which it could not

 achieve in a competitive market.

              In March 2003, Caldera Systems, Inc. (which later renamed itself The

 SCO Group, Inc.) commenced a far-flung campaign to create the false and

 misleading impression that it had rights to the UNIX and Linux operating systems

 that it did not have. As part of the campaign, Caldera commenced this lawsuit,

 filed a similar lawsuit against Novell, and threatened litigation against most (if not

 all) Fortune 500 companies if they did not take a license from SCO.

              After more than thirteen years of litigation, SCO agreed to the

 dismissal of most of its claims and the district court rejected the remainder of

 SCO’s claims, including the claims at issue on this appeal: a claim for unfair

 competition concerning “Project Monterey”; two claims for tortious interference;

 and a copyright infringement claim related to Project Monterey. SCO’s appeal of

 the district court’s rulings should be rejected because the district court properly

 granted summary judgment against SCO on its unfair competition and tortious

 interference claims. The district court also properly exercised its discretion in

 denying SCO’s motion to file a fourth complaint that would have asserted a claim

 for copyright infringement.



                                            2
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016    Page: 15



         A.   IBM, Its Products and Projects

              IBM is a computer technology and consulting company. Over the

 years, IBM has developed, marketed and sold a variety of computer hardware and

 software products. Among the products relevant to this case are two operating

 systems, generally known as UNIX and Linux. UNIX is a computer operating

 system program developed by AT&T in the 1970s. (A105 ¶1.) Linux is a

 computer operating system developed under an “open source” model by thousands

 of developers worldwide. (A121 ¶75.)

              Beginning in 1985, IBM entered into a series of licensing agreements

 with AT&T and its successors in interest, including Novell and Santa Cruz.1

  (A2581-82; SCO Br. at 9.) Pursuant to those agreements, IBM created its own

 flavor of UNIX, which it called AIX. (A2582; A2592.)

              To ensure choice for its customers, IBM also supported the

 development of Linux. (A3526-27.) IBM contributed some of its own proprietary

 source code to Linux and made investments in various companies to contribute to

 that development. (A2656-57; A9639; TI Opp. at 88-89.)

              As is commonplace, IBM periodically collaborated with other

 companies in an effort to deliver quality products to its customers. One such


     1
      Throughout its brief, Plaintiff misleadingly uses “SCO” to refer to both Santa
 Cruz and The SCO Group, Inc. As explained below, the two companies are not the
 same, and their respective dealings with IBM differ in ways that are material to
 Plaintiff’s claims.

                                          3
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 16



 collaboration was a joint development agreement with Santa Cruz known as

 Project Monterey. (SCO Br. at 9; A1489-90.)

       B.     SCO and Its Turn toward Litigation

              The SCO Group, Inc. (herein referred to as “SCO”) was founded in

 1994 as a Utah-based Linux company called Caldera, Inc. SCO had nothing to do

 with the development of UNIX and played no role in Project Monterey. (A9582;

 A9593; A9595; A2598 ¶¶ 55-56, A2602 ¶ 62.)

              Unable to succeed as a Linux company, Caldera acquired UNIX

 assets from Santa Cruz and undertook to reinvent itself. (A2602 ¶ 62.) Caldera

 purported to have acquired AT&T’s, Novell’s and Santa Cruz’s rights to UNIX,

 including the right to control what IBM and others did with their own flavors of

 UNIX and to shut down the development of the Linux operating system. (A117

 ¶59; A9641 ¶ 64, A9644 ¶67(g).)

              This formerly Linux-focused company changed management, adopted

 a new name (The SCO Group, Inc.) (A9578), making it sound like the shorthand

 name by which Santa Cruz was known, and opted to pursue litigation in lieu of

 innovation and product development.

              In 2003, SCO filed lawsuits against IBM, Novell, GM and AutoZone,

 and threatened to file suit against any company that did not promptly purchase a

 license from it. (See A211-12.) At the same time, SCO undertook a campaign to



                                          4
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016    Page: 17



 create fear, uncertainty and doubt regarding the legitimacy of operating systems

 that ran a significant part of the world economy. (See A207-08.)

              Not surprisingly, SCO’s campaign resulted in a very large (but

 temporary) increase in its stock price and caused some companies to purchase

 licenses from it to avoid the risk of liability. (A9642 ¶66.)

         C.   Most of SCO’s Claims Are Finally Resolved Against It

              SCO’s litigation initiative focused primarily on IBM and Novell.

 SCO asserted numerous claims against them in separate but related lawsuits in the

 district court. (A1180; A9615.) SCO also sought belatedly to assert a copyright

 claim against IBM relating to Project Monterey, but the district court denied SCO’s

 motion for leave to amend. (A1124-25.)

              IBM and Novell both asserted counterclaims against SCO and, after

 extensive and expensive discovery, filed motions for summary judgment against

 SCO on SCO’s claims (and on certain of their respective counterclaims). (A65.)

              Before ruling on IBM’s summary judgment motions, the district court

 entered summary judgment for Novell on SCO’s claims against Novell in the

 Novell case. (A9486.) While the decision did not address SCO’s claims against

 IBM, the decision effectively barred most of SCO’s claims against IBM as well.

 (Id.)

              Shortly after the district court’s decision in the Novell case, and on the

 eve of trial, SCO filed for protection in Delaware under Chapter 11 of the
                                           5
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016    Page: 18



 Bankruptcy Code. (A9475.) The filing resulted in an automatic stay in this case,

 which was administratively closed. (A9484.)

               Meanwhile, however, SCO appealed the district court’s summary

 judgment ruling in the Novell case to this Court, and this Court remanded the case

 to the district court for trial. SCO Group, Inc. v. Novell, Inc., 578 F.3d 1201 (10th

 Cir. 2009).

               Following both a jury and bench trial, a final judgment was entered

 against SCO and in favor of Novell, and this Court affirmed. SCO Group, Inc. v.

 Novell, Inc., 439 F. App’x 688 (10th Cir. 2011).

       D.      The Rest of SCO’s Claims Are Rejected

               After this Court’s affirmance in the Novell litigation, the district court

 reopened this case and undertook to rule on the outstanding motions.

               Based on the Novell decision alone (and with SCO’s consent), the

 district court entered summary judgment against SCO on its claims for breach of

 contract (Counts 1-4), its claim for copyright infringement (Count 5) and one of its

 claims for tortious interference (Count 8). (A9486.) The district court also entered

 summary judgment against SCO on two of IBM’s counterclaims (Counts 9 and

 10), which sought a declaration of non-infringement regarding pre-1996 UNIX

 source code. (A9488.) None of these claims is at issue on this appeal.

               After supplemental briefing (to update briefs filed nearly a decade

 earlier), the district court entered summary judgment against SCO on its only
                                             6
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 19



 remaining claims: a claim for unfair competition concerning Project Monterey

 (Count 6) (A9614); and two claims for tortious inference (Counts 7 and 9)

 (A9679).

              In an order dated February 5, 2016, the district court rejected SCO’s

 unfair competition claim because SCO failed to show that IBM engaged in unfair

 competition. (A9598-99.) The court concluded that SCO’s claim was barred by

 the independent tort doctrine. (Id.)

              The district court rejected SCO’s tortious inference claims in an order

 dated February 8, 2016. The district court ruled that SCO’s claims failed because

 no evidence supports SCO’s allegation of interference and because there is no

 causal link between IBM’s alleged acts and SCO’s alleged injury. (A9671.)

       E.     This Appeal

              Although the district court has not yet ruled on summary judgment

 motions concerning IBM’s counterclaims (one by IBM and two by SCO), the

 district court suggested (and the parties agreed) that entry of a partial judgment

 under Rule 54(b) might be the most efficient means to resolve the case. (A101.)

 SCO has represented that its only remaining assets are its claims against IBM, such

 that it could not satisfy a judgment in favor of IBM on IBM’s counterclaims. (Dkt.

 No. 1162 at 2.)

              In a partial judgment entered on March 1, 2016, the district court

 ordered that, pursuant to the orders entered on July 10, 2013, February 5, 2016, and
                                           7
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 20



 February 8, 2016, judgment be entered in favor of IBM and SCO’s causes of action

 be dismissed with prejudice. (A9686.)

              By the present appeal, SCO challenges the district court’s orders of

 February 5 and 8, 2016, entering summary judgment against SCO on its unfair

 competition claim and tortious inference claims. SCO also challenges the

 July 1, 2005 order of the court denying SCO leave to file a fourth complaint to

 assert a new claim against IBM for copyright infringement.




                                          8
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016   Page: 21



                             STATEMENT OF FACTS

              SCO’s allegations and the evidence pertinent to those allegations are

 described in detail in the district court’s decisions and the papers submitted in

 connection with the relevant motions, and we set out here only those facts useful to

 understanding why the district court properly rejected SCO’s claims.2

         A.   SCO’s Unfair Competition Claim

              While SCO initially sought to pursue a very broad claim against IBM

 for unfair competition, it ultimately conceded that its only potential claim related to

 Project Monterey. According to SCO, IBM “misappropriated into its ‘AIX for

 Power’ operating system UnixWare source code that SCO provided to IBM subject

 to strict restrictions that IBM ignored” and “engaged in a ruse to gain access to

 SCO’s source code to effect the misappropriation”. (Dkt. No. 1134 at 3.)

              Project Monterey was a joint development project between IBM and

 Santa Cruz. The purpose of the project was to develop and market a “family” of

 UNIX-like operating system products, including a “Monterey/64” version for the

 forthcoming IA-64 Intel processor, a version to run on IBM’s proprietary “Power”

 processor architecture and a version to run on the IA-32 architecture. (A1489-90;

 A1492; A3080.) The IA-64 architecture had not been commercialized when

     2
       As is required, the evidence cited herein is presented in the light most
 favorable to SCO, despite IBM’s disagreement with SCO’s version of events. In
 some instances, the district court viewed the allegations in the light most favorable
 to SCO absent evidentiary support, but that error is of no consequence in light of
 the district court’s rulings.

                                           9
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016    Page: 22



 Project Monterey began but was under development in a separate collaboration

 between Intel and HP. (A2380; Ex. 186 ¶54; A1511.)

              Project Monterey was governed by a joint development agreement

 dated October 26, 1998 (the “JDA”). Under the JDA, both Santa Cruz and IBM

 agreed to provide resources and technology to create a compatible family of

 products. (A3080.) Each party also granted the other a license to use code

 supplied during Project Monterey. (A3084 § 2.0(c)(2), A3085 §2.0(d)(2).)

              Although IBM and Santa Cruz engaged in development activities,

 Project Monterey encountered substantial challenges. Among other things, Intel’s

 IA-64 processor was delayed and did not end up shipping until mid-2001. (A1466;

 A2599 ¶57.) Once the Intel processor (Itanium) did arrive, it performed poorly and

 Intel and HP re-positioned Itanium as primarily an evaluation and development

 platform. (A9588.) As a result, there was a substantial decrease in market interest

 and confidence in IA-64 and thus the Monterey/64 product under development in

 Project Monterey. (Id.; A1506; A1514; A2600 ¶58.)

              At or about the same time, in May 2001, Santa Cruz finalized the sale

 of its Server Software and Professional Services divisions and its UNIX-related

 assets to Caldera International (“Caldera”), ending Santa Cruz’s investment in and

 support of Project Monterey. (A3076-77.)

              Santa Cruz did not obtain IBM’s prior written consent to an

 assignment of the JDA as required. Instead, Santa Cruz informed IBM of the sale
                                         10
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 23



 in a letter dated June 6, 2001. (Id.) Caldera did not acquire Santa Cruz, which

 continued in business, changing its name to “Tarantella”. (Id.)

              IBM declined to consent to the assignment of Santa Cruz’s rights and

 obligations under the JDA. Instead, IBM promptly exercised its right to terminate

 the JDA in a letter dated June 19, 2001. (A3009.) Contrary to SCO’s contention,

 IBM told Santa Cruz (and Santa Cruz understood before the Caldera transaction

 closed) that IBM would not consent to the assignment. (A3009; A3076-77; see

 also UC Reply at 17-18.)

       B.     SCO’s Tortious Interference Claims

              SCO asserts two claims for tortious interference, its Seventh and

 Ninth Causes of Action. The claims concern entities or relationships with which

 IBM is alleged to have interfered both directly and indirectly.

              SCO identified six entities with which IBM is alleged to have

 interfered directly: BayStar, HP, Computer Associates, Oracle, Intel and the

 “OpenSource Conference”. (A9632.) According to SCO, IBM communicated to

 the entities that IBM was ending its business ties with SCO and asked them to do

 the same. (A9632-34.)

              SCO failed, however, to adduce any evidence of improper conduct by

 IBM with respect to these six entities. In fact, the undisputed evidence

 demonstrates that IBM did not interfere with any of these alleged relationships.

 No one from IBM even communicated with any representative of BayStar
                                          11
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016     Page: 24



 concerning SCO or BayStar’s investment in SCO (A2522 ¶4), and no one from

 IBM ever told Computer Associates, Oracle or Intel that IBM was cutting off its

 business ties with SCO. (A2566-67 ¶¶2-4; A3074 ¶¶2-4; A2854 ¶¶2-4.)

 Representatives from all six entities provided sworn testimony that none of their

 respective relationships with SCO were altered because of any alleged actions or

 statements by IBM. (A9649; A9655-56; A9659; A9662.)

              Nor did SCO offer any evidence to support its claim of indirect

 interference by IBM. SCO alleged that IBM interfered with possible business

 relationships with 14 “former SCO customers” who migrated to a Linux platform

 and 156 “other Linux users”. (A9634-96.) It did not allege “that IBM contacted

 any one of these companies individually”; instead, it accused IBM of affecting the

 market generally. (A4533 at 26:17-22, 29:12-30:10.) Notably, SCO generated the

 list of the 156 companies by lifting names from an IBM document which purports

 to identify certain companies as “Linux wins”, and offered no basis for its claims

 apart from “information and belief”. (A4537 at 42:6-11; A1769-71.)

              IBM’s Linux strategy was undertaken in good faith and entirely for

 competitive reasons. IBM harbored no malice or ill will towards SCO and did not

 have any intent to harm SCO. (A4803 ¶5.) SCO’s own experts acknowledged that

 competitive forces led IBM to support Linux. (A2746; A2749-52; A3517; A3524.)

 They recognized that (i) IBM made the decision to support Linux because of

 competition from Sun and Microsoft, among other factors; (ii) the decision had
                                         12
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 25



 nothing to do with SCO; and (iii) IBM’s support of Linux constituted competition

 on the merits. (A2757; A3526-27; A3546-47.)

              In any case, SCO failed specifically to identify any damages resulting

 from any acts of alleged interference by IBM. (See TI Opp. at 89-90 (failing to

 offer evidence disputing IBM’s contention that SCO had not specifically identified

 evidence of any damages).) In truth, there were problems adversely affecting

 SCO’s business from at least 1999 onward that were independent of any alleged

 actions of IBM. (A9656-57; A9667-68; A9677.)

       C.     SCO’s Proposed Copyright Claim

              SCO sought to file a fourth complaint to add a Tenth Cause of Action

 for copyright infringement. But it did not do so until more than 19 months after

 commencement of the litigation and eight months after the district court’s deadline

 for seeking leave to further amend. (A33; A322; A1390-1400 ¶¶217-41.)

              SCO’s proposed claim asserted that “IBM misappropriated, and used

 in its own ‘AIX for Power’ operating system, substantial copyrighted source code

 relating to UnixWare System V Release 4 (‘SVr4’)”. (A1390 ¶217.) SCO further

 alleged that “IBM obtained access to the copyrighted Unix Ware SVr4 code

 through ‘Project Monterey’”. (Id.)

              But the JDA entered into by Santa Cruz and IBM in October 1998

 specifically envisioned IBM’s use of the UnixWare/SVr4 code in IBM’s AIX

 products. The JDA gave IBM a royalty-free license to include such
                                         13
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 26



 UnixWare/SVr4 code in its products, including AIX for Power, the allegedly

 infringing product here. (A426 §§ 2.0(d)(2); A479.)

              Importantly, the JDA contains a forum-selection clause for New York

 courts and sets a two-year time limit for any claim. (A454-55 § 22.3.)

 Section 22.3 of the JDA provides in relevant part: “Any legal or other action

 related to a breach of this Agreement must be commenced no later than two (2)

 years from the date of the breach in a court sited in the State of New York”. (Id.)3

              Although SCO claims (incorrectly) that Santa Cruz did not grant IBM

 a license to the code in question, the documentary record makes clear that (i) Santa

 Cruz intended to give IBM a license to the code (A483; A497; A526; A583) and

 (ii) the disputed code was, with the knowledge of Santa Cruz, included in the AIX

 for Power product (A592; A701; A725-726; A729). Publicly-available documents

 (e.g., product announcements, industry reports and manuals) issued long before

 SCO’s proposed complaint reflect the inclusion of UnixWare/SVr4 code in AIX

 for Power—specifically, AIX 5L, the release of AIX for Power (and for the Intel

 IA-64 processor) that contained technology from UnixWare/SVr4. (A737-38;

 A742; A744; A759; A776; A780; A822-23; A863-76.)



     3
      Section 22.11 of the JDA states “[n]o . . . waiver of any provision of this
 Agreement shall be effective unless it is set forth in a writing which refers to the
 provisions so affected and is signed by an authorized representative of each Party.”
 (A456 § 22.11.) IBM has never executed such a writing setting forth its intention
 to waive Section 22.3 of the JDA.

                                          14
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016     Page: 27



              At least as of August 2004, SCO was in possession of the IBM

 internal documents SCO used to support its motion to amend, and it was disclosing

 the substance of those documents to the media. (A878; A881-82.) Yet, SCO did

 not seek to assert the proposed copyright claim until October 2004, after the

 two-year limitations period had expired. (A318.)

              In a decision dated July 1, 2005, the district court denied SCO’s

 motion to add a claim based upon IBM’s alleged copying of code obtained through

 Project Monterey into AIX. (A1836-37.) The district court held that SCO had

 unduly delayed seeking leave to add the proposed claim because it appeared that

 “SCO—or its predecessor—either knew or should have known about the conduct

 at issue before it filed its original Complaint”. (A1837.) The district court also

 found that SCO’s proposed amendment would have “expanded this already sizable

 and complex litigation and would [have] serve[d] only to delay its resolution”.

 (Id.)

                           SUMMARY OF ARGUMENT

              The district court properly entered summary judgment against SCO on

 its unfair competition and tortious interference claims and soundly exercised its

 discretion in denying SCO leave to untimely file a fourth complaint that would

 have asserted a new claim of copyright infringement.

              1. Unfair Competition. While SCO pursued a very broad claim for

 unfair competition for many years, it eventually narrowed the claim to Project
                                          15
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 28



 Monterey. That claim fails because, as the district court found, SCO failed to

 adduce evidence of unfair competition. The district court saw through SCO’s

 attempt to dress up a claim for breach of the JDA as a tort and properly rejected the

 claim under the independent tort doctrine. (A9599-9605.) Contrary to SCO’s

 contention, it could not show that IBM owed or breached any duty independent of

 the JDA, such as a separate fiduciary duty. (A9605-9614.) SCO’s unfair

 competition claim also fails for two reasons not reached by the district court:

 (1) the claim was untimely because it was brought after the two-year limitations

 period established in the contract; and (2) the claim was preempted by federal

 copyright law. Indeed, SCO had previously tried without success to raise the same

 allegations in the form of a copyright claim.

              2. Tortious Interference. SCO initially asserted three claims for

 tortious interference but only two remain at issue: (1) SCO’s claim that IBM

 intentionally interfered with SCO’s contracts; and (2) SCO’s claim that IBM

 intentionally interfered with SCO’s potential or existing business relationships.

 These claims fail because SCO failed to adduce any evidence of actionable

 interference by IBM or to show IBM caused SCO’s alleged injury. Like SCO’s

 unfair competition claim, these claims also fail for reasons not reached by the

 district court: (1) IBM did not act by improper means, and (2) IBM’s alleged

 conduct was privileged as it advanced the company’s legitimate competitive

 interests.
                                          16
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 29



              3. Copyright Infringement. In addition to the copyright claim SCO

 asserted in its second amended complaint (which is not at issue on this appeal),

 SCO sought leave at the end of fact discovery to assert a new claim for copyright

 infringement concerning code allegedly misappropriated by IBM through Project

 Monterey. The district court properly denied SCO’s motion for leave to amend

 because the amendment was untimely, and SCO failed to demonstrate good cause

 for its delay. In an obvious effort to circumvent the district court’s ruling, SCO

 incorporated its copyright allegations into its unfair competition claim, which is

 why (as stated) that claim is preempted.

                             STANDARD OF REVIEW

              This Court “review[s] a district court’s order granting a motion for

 summary judgment de novo, applying the same legal standard utilized by the

 district court.” Farthing v. City of Shawnee, Kan., 39 F.3d 1131, 1135 (10th Cir.

 1994). This Court “review[s] the district court’s decision to deny leave to amend a

 complaint for abuse of discretion.” Grossman v. Novell, Inc., 120 F.3d 1112, 1126

 (10th Cir. 1997) (citation omitted).




                                            17
Appellate Case: 16-4040     Document: 01019715004       Date Filed: 11/02/2016   Page: 30



                                      ARGUMENT

 I.       THE DISTRICT COURT PROPERLY REJECTED SCO’S UNFAIR
          COMPETITION CLAIM

                As stated, SCO’s only unfair competition claim relates exclusively to

 Project Monterey, which is governed by an extensive contract (the JDA) between

 IBM and Santa Cruz. Because SCO was not a party to the JDA (and thus could not

 assert a claim against IBM for breach of the agreement), it sought to dress up a

 claim for breach of the JDA as a claim for unfair competition. However, that claim

 fails as a matter of law, and the district court’s rejection of SCO’s unfair

 competition claim should be affirmed.4

          A.    SCO Adduced No Evidence of Unfair Competition by IBM

                SCO’s allegations of unfair competition fail because, as the district

 court held, they are barred under the independent tort doctrine (A9599-9602), and

 SCO’s attempt to avoid the doctrine by claiming a breach of fiduciary relationship

 was baseless. In addition, SCO lacked standing to pursue an unfair competition

 claim that was indisputably grounded on the JDA, a contract to which SCO was

 not a party.




      4
      SCO cites both New York and Utah law in support of its unfair competition
 claim. We believe Utah law applies to SCO’s interference claims and New York
 law applies to its unfair competition claim. But SCO’s claims fail under the laws
 of both jurisdictions.

                                            18
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016     Page: 31



              1.    SCO’s Unfair Competition Claim Is Barred by the
                    Independent Tort Doctrine

              It is well-settled that a plaintiff cannot dress up a contract claim as a

 claim for unfair competition. “A simple breach of contract is not to be considered

 a tort unless a duty independent of the contract itself has been violated”. TVT

 Records v. Island Def Jam Music Grp., 412 F.3d 82, 91-92 (2d Cir. 2005) (quoting

 Clark-Fitzpatrick, Inc. v. Long Island Rail Road Co., 70 N.Y.2d 382, 389 (N.Y.

 1987)). This legal duty “must spring from circumstances extraneous to, and not

 constituting elements of, the contract, although it may be connected with and

 dependent upon the contract.” Clark-Fitzpatrick, 70 N.Y.2d at 389; accord

 Medinol Ltd. v. Boston Scientific Corp., 346 F. Supp. 2d 575, 607 (S.D.N.Y.

 2004).5

              As the district court correctly found, SCO’s unfair competition claim

 is not based on an alleged violation of a duty independent of the JDA. Nor does it

 spring from circumstances extraneous to, and not constituting elements of, the

 contract. SCO alleges that IBM engaged in “[m]isappropriation of source code,

 methods, and confidential information” and “[c]ontribution of protected source

 code and methods for incorporation into one or more Linux software releases,


     5
      The law is the same in Utah: where there exists an “express contract provision
 dealing with the issue, there is no independent duty created here which would
 create a tort apart from the contractual obligations between the parties.” Deer
 Crest Associates I, L.C. v. Deer Crest Resort Group, L.L.C., No. 2:04-CV-00220-
 TS, 2006 WL 722216, *3 (D. Utah Mar. 15, 2006).

                                           19
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016      Page: 32



 intended for transfer of ownership to the general public.” (A156 ¶184(a) and (e).)

 IBM’s use and appropriation of that code and other information is expressly

 allowed by the JDA. (See A9584-85 (quoting JDA § 2.0(d)(2) (expressly granting

 IBM “a worldwide, non-exclusive, royalty free . . . perpetual and irrevocable . . .

 right and license under SCO’s and applicable third parties’ copyrights . . . and any

 trade secrets or confidential information in the Licensed SCO Materials and SCO

 Project Work which are included in Deliverables . . .”).) Use of the code was not

 “collateral and extraneous to the terms and conditions of the contract that were

 allegedly breached.” Medinol Ltd., 346 F. Supp. 2d at 607. Rather, there exists an

 “express contract provision dealing with the issue, [and therefore,] there is no

 independent duty created here which would create a tort apart from the contractual

 obligations between the parties.” Deer Crest Associates I, L.C., 2006 WL 722216,

 at *3.

              Although a tort claim “must be sufficiently distinct from the breach of

 contract claim in order to be legally sufficient”, Medinol Ltd., 346 F. Supp. 2d at

 607, SCO based its claim on the allegations that IBM engaged in “[b]reach of

 contract”, “[v]iolation of confidentiality provisions running to the benefit of

 plaintiff”, and “[i]nducing and encouraging others to violate confidentiality

 provisions”. (A156 ¶184(b)-(d).) In fact, SCO’s briefing is replete with

 characterizations of the Monterey/64 product being a “sham,” but the quality of the

 Monterey/64 product is only relevant to the use of SCO’s code in the context of the
                                           20
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016     Page: 33



 JDA, and SCO essentially sought to drive home the point that IBM did not

 sufficiently perform its contractual obligations to reap the benefits of the contract.

 Thus, as the district court stated, “Although SCO argues that its unfair competition

 claim is not subsumed in Santa Cruz’s and IBM’s contractual duties, not only does

 the JDA clearly address[] IBM’s use of the code, but SCO’s own Second Amended

 Complaint specifically alleges breach of contract as many of the bases for its unfair

 competition claim.” (A9605.)

              SCO contends the district court misapplied the independent tort

 doctrine by (1) construing it to bar a claim simply because there is an express

 contract; (2) disregarding the rule that the same conduct that breaches a contract

 can also breach other duties independent of a contract; and (3) requiring a plaintiff

 to show that the tortfeasor owed a “heightened duty”. That is wrong. The district

 court’s decision makes clear that it did not reject SCO’s claim simply because it

 relates to a contract; it did not disregard the principle that conduct that breaches a

 contract can also breach other duties; and it did not require SCO to show that IBM

 owed a heightened duty. (A9599-9601; A9604.)

              Moreover, the district court expressly ruled that SCO’s claim was

 barred, not for the reasons imagined by SCO, but because “the alleged

 misappropriation is inseparable from an alleged breach of the JDA and its licensing

 provisions because IBM’s legal right to use the source code is at the heart of each


                                           21
Appellate Case: 16-4040    Document: 01019715004      Date Filed: 11/02/2016   Page: 34



 claim”, and “there is no independent duty created here which would create a tort

 apart from the contractual obligations between the parties”. (A9604.)

              SCO also argues that even if the district court were right to consider

 whether SCO’s claim was subsumed within the contract, it erred in concluding that

 SCO’s unfair competition allegations were in fact subsumed by the JDA. (SCO

 Br. at 35.) According to SCO, “SCO is not seeking to hold IBM to a promise”;

 “IBM never expressly promised not to deceive or misappropriate code”; and

 “[n]othing in the JDA expressly requires IBM to inform SCO of its intent to string

 Project Monterey along or use the deception to claim a right to SCO’s code”. (Id.)

 What SCO overlooks, however, is that, as the district court found, “determining

 that IBM misappropriated the code in question would require a legal conclusion

 that IBM had breached the contract”. (A9604.) IBM could not possibly have

 misappropriated the code in question unless it also breached the JDA because

 Santa Cruz gave IBM the code pursuant to the contract, and authorized IBM to use

 it. IBM had no duty to Santa Cruz (or anyone else) concerning the code at issue

 except as set forth in the contract.

              At bottom, SCO relies on an incorrect and outdated concept of unfair

 competition. The law of unfair competition does not encompass any and all forms

 of alleged commercial unfairness, as SCO suggests. Rather, as the Second Circuit

 has stated, in one of the very cases cited (misleadingly) by SCO, “whatever the

 breadth and flexibility of New York’s unfair competition tort, it depends upon the
                                          22
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016    Page: 35



 allegation of facts that, if true, would constitute misuse of plaintiffs’ property.”

 Big Vision Private Ltd., 610 F. App’x at 71(internal quotation marks and citations

 omitted). There are no such facts at issue here and the only alleged misuse relates

 to code covered by the JDA.6

              2.     SCO’s Fiduciary Duty Argument Is Unsupported

              As a fall back, SCO contends that the district court improperly

 required that SCO show the existence of a fiduciary duty to make out its unfair

 competition claim. But the district court did no such thing. It was SCO that

 invoked fiduciary principles in an attempt to avoid the independent tort doctrine.

 (UC Opp. at 42.) The district court simply addressed, and properly rejected, SCO’s

 argument that IBM owed SCO fiduciary duties.7




     6
       SCO cites to Astroworks, Inc. v. Astroexhibit, Inc., 257 F. Supp. 2d 609
 (S.D.N.Y. 2003), for the proposition that the tort of unfair competition includes
 any form of commercial unfairness. (SCO Br. at 26.) However, Astroworks was
 decided before the New York Court of Appeals held in ITC Ltd. v. Punchgini, Inc.
 that the tort of unfair competition is not all-encompassing. 850 N.Y.S.2d 366, 372
 (2007). As the Southern District of New York Court recently explained, the tort of
 unfair competition is not “equivalent to the amorphous term ‘commercial
 fairness’”. Roche Diagnostics GMBH v. Enzo Biochem, Inc., 992 F. Supp. 2d 213,
 223 n.7 (S.D.N.Y. 2013) (citations omitted) (rejecting plaintiff’s attempt to
 characterize unfair competition as “broad and flexible” and encompassing “any
 form of commercial immorality”).
     7
      SCO misconstrues the district court’s opinion when it argues that the district
 court did not acknowledge that SCO’s argument was based on fiduciary or
 “common law” duties. To the contrary, the district court explicitly addressed
 SCO’s allegations that “IBM has independent fiduciary and common law
 confidentiality duties”. (A9609.)

                                            23
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016   Page: 36



              Under New York law, a fiduciary relationship exists “when one

 person is under a duty to act for or to give advice for the benefit of another upon

 matters within the scope of the relation.” Muller-Paisner v. TIAA, 289 F. App’x

 461, 465 (2nd Cir. 2008) (citations omitted). In Utah, for a fiduciary duty to lie,

 “there must exist a certain inequality, dependence, weakness of age, of mental

 strength, business intelligence, knowledge of the facts involved, or other

 conditions, giving to one advantage over the other.” First Sec. Bank of Utah

 N.A. v. Banberry Dev. Corp., 786 P.2d 1326, 1333 (Utah 1990) (citations omitted).

              Here, SCO failed altogether to show that IBM was a fiduciary of

 SCO. As stated, SCO was not a party to the JDA and had nothing to do with

 Project Monterey, the initiative as to which it claims IBM owed it fiduciary duties.

 That alone is fatal to SCO’s fiduciary allegations.

              But even if (contrary to fact), SCO and Santa Cruz were the same

 entity, IBM did not owe Santa Cruz any fiduciary duties. At the time they entered

 into Project Monterey, IBM and Santa Cruz were sophisticated business entities

 acting at arm’s length.8 “By their nature, arms-length commercial transactions

 ordinarily do not involve relationships defined by the New York court as

 fiduciary.” Muller-Paisner, 289 F. App’x at 466. While partnerships and joint


     8
       SCO argues that courts must look beyond the language of the contract to the
 economic realities when determining whether there is a joint venture. While that is
 true, the district court did just that. (A9613.)

                                          24
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 37



 ventures can give rise to fiduciary duties, IBM and Santa Cruz unambiguously

 stated in the JDA that they were not forming a joint venture or partnership:

              This Agreement shall not be construed to establish any
              form of partnership, agency, franchise or joint venture of
              any kind between [Santa Cruz] and IBM, nor to
              constitute either party as a[n] agent, employee, legal
              representative, or any other form of representative of the
              other. This Agreement shall not be construed to provide
              for any sharing of profits or losses between the parties.
              (A455 § 22.5.)9

              The cases relied upon by SCO to support its argument that there is a

 fact issue with respect to whether IBM and SCO were in a joint venture are easily

 distinguished. Penato v. George, 383 N.Y.S.2d 900, 901-02 (N.Y. App. Div.

 1976), involved a woman who gave money to a family friend in connection with a

 business venture in which her son participated; it did not involve two sophisticated

 business entities who entered an arm’s-length contract. Niagara Mohawk Power

 Corp. v. Stone & Webster Eng’g Corp., No. 88-CV-819, 1992 WL 121726

 (N.D.N.Y May 23, 1992), did not even examine whether there was a joint venture




     9
       SCO points to JDA provisions regarding ownership of joint inventions and
 provisions regarding royalties to support its claim that Project Monterey was a
 joint venture or partnership. But such provisions are insufficient to refute the plain
 language of the JDA. The royalty provisions are akin to sales commissions, which
 the court in Kidz Cloz found insufficient for a reasonable jury to conclude that
 there was sharing of profits and losses. Kids Cloz, 320 F. Supp. 2d at 174-75. And
 nothing in the contract speaks to sharing losses, an essential element of a joint
 venture. Where there is no sharing in the losses of the venture, there is no joint
 venture. Cosy Goose Hellas v. Cosy Goose USA, Ltd., 581 F. Supp. 2d 606, 623
 (S.D.N.Y. 2008) (applying New York law).

                                          25
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 38



 and did not involve a contractual provision disclaiming the existence of the alleged

 special relationship.10

              3.     SCO Lacks Standing To Pursue Its Claim

              SCO’s unfair competition claim also cannot survive for the additional

 reason that SCO was never a party to, and does not have standing to assert a claim

 related to a breach of, the JDA. While it is plainly for this reason that SCO

 attempts to recast a contract claim as one for unfair competition rather than breach

 of contract, SCO cannot co-opt claims it never owned by the expedient of claiming

 that IBM’s alleged breaches of contract amounted to unfair competition.

              Section 22.12 of the JDA, which is entitled “Assignment”, provides

 that “[n]either party may assign, or otherwise transfer, its rights or delegate any of

 its duties or obligations under this Agreement without the prior written consent of

 the other party”. (A456-57 § 22.12.) IBM invoked Section 22.12 and its right to

 terminate the agreement under Section 15.2. (A3009.) Thus, SCO never was a

 party to the JDA; nor did it acquire any of Santa Cruz’s rights under the JDA.

 (A421; A3076-77; A2104-05.) As a result, SCO does not have standing to enforce

 any of those rights, no matter how it labels its claim. See TeeVee Toons, Inc. v.


     10
       That a few IBM e-mails referred to Santa Cruz colloquially as a “tight
 partner” is insufficient to alter the terms of the JDA or the partners’ relationship.
 In Banco Industrial de Venezuela, C.A. v. CDW Direct, L.L.C., 888 F. Supp. 2d
 508, 512-13 (S.D.N.Y. 2012), the court rejected the argument that the defendant’s
 representation of itself as “[a] partner that will earn your trust” created a
 heightened duty of care.

                                           26
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016   Page: 39



 Gerhard Schubert GmbH, No. 00-5189, 2006 WL 2463537, at *3 (S.D.N.Y. Aug.

 23, 2006) (holding that because plaintiff was neither party to the relevant contract,

 nor an intended third-party beneficiary, plaintiff lacked standing both to enforce

 the contract and assert a tort claim related to a breach of that contract).11

          B.   SCO’s Unfair Competition Claim Is Untimely

               SCO’s unfair competition claim also fails because it is time barred.

               1.    The JDA’s Two-Year Limitations Provision Applies to
                     SCO’s Unfair Competition Claim

               As stated, SCO’s unfair competition claim was limited to Project

 Monterey. The Project Monterey JDA expressly states that “[a]ny legal or other

 action related to a breach of this Agreement must be commenced no later than two

 (2) years from the date of the breach”.12 (UC Mot. ¶25.)

               SCO’s unfair competition claim plainly is directly “related to” an

 alleged breach of the JDA. Not only are the alleged representations upon which

     11
       SCO also cannot establish IBM acted in bad faith, which is necessary to
 support a claim for unfair competition based upon misappropriation. See Capitol
 Records, Inc. v. Naxos of Am., Inc., 372 F.3d 471, 482 (2d Cir. 2004). IBM
 indisputably had a license to access the Santa Cruz code and to use it in AIX for
 Power, and SCO has not adduced any evidence that IBM acted in bad faith. (See
 UC Reply at 15-17.)
     12
        The parties to a contract “may agree to limit the period of time within which
 an action must be commenced to a shorter period of time than that provided by the
 applicable Statute of Limitations”. Incorp. Village of Saltaire v. Zagata, 720
 N.Y.S.2d 200, 200 (App. Div. 2001); see also N.Y. C.P.L.R. 201 (McKinney
 2006); Kerry v. Southwire Co. & Affiliates Employee Benefits Plan, 324 F.
 Supp. 2d 1225, 1227 (D. Utah 2004). Provisions limiting the period within which
 to file suit to periods far less than two years have been found reasonable. See, e.g.,
 Incorp. Village of Saltaire, 720 N.Y.S.2d at 201.

                                            27
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016   Page: 40



 SCO bases its claim “related” to the JDA, but they are explicitly contained in the

 JDA.13 SCO does not dispute that IBM was entitled to access the Santa Cruz code

 and licensed to use it for certain purposes; the thrust of SCO’s (erroneous)

 allegation is that IBM breached its obligations under the JDA by using the code

 outside the authorized consent. (UC Mot. ¶¶13, 20.) Tellingly, SCO’s own brief

 in the district court conceded that its unfair competition claim related to an alleged

 breach of the JDA. (UC Opp. at 42.)

              Courts routinely have construed language such as the “related to”

 language of Section 22.3 to include non-contractual claims comparable to SCO’s

 unfair competition cause of action. See, e.g., Turtur v. Rothschild Registry Int’l,

 Inc., 26 F.3d 304, 309-10 (2d Cir. 1994); Cambridge Nutrition A.G. v.

 Fotheringham, 840 F. Supp. 299, 300-02 (S.D.N.Y. 1994). Indeed, courts have

 interpreted language far narrower than that in Section 22.3 to encompass non-

 contractual claims. See, e.g., Monsanto Co. v. McFarling, 302 F.3d 1291, 1294-96

 (Fed. Cir. 2002) (holding patent claims subject to forum selection clause applicable

 to “all disputes arising under” contract); Rockwell Int’l Corp. v. Goss Graphic Sys.,

 Inc., No. 00-8763, 2001 WL 293818, at *1-2 (S.D.N.Y. Mar. 27, 2001) (applying



     13
       In its interrogatory responses, SCO asserts that IBM’s alleged fiduciary duty
 arose from IBM’s representations. (A1650.) Those representations are explicitly
 contained in the JDA, and SCO’s allegation that IBM breached duties allegedly
 arising from those representations therefore “relates to a breach” of the JDA. (UC
 Opp. at 36-38.)

                                           28
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016     Page: 41



 forum selection clause using “arising out of this Agreement” language to copyright

 claim because resolution of claims “relate to the interpretation of the Agreement”).

              2.     SCO’s Claim Was Untimely Under the Two-Year
                     Limitations Provision

              Because SCO’s claim is “related to” an alleged breach of the JDA, it

 had to be filed “no later than two (2) years from the date of the breach”. (UC Mot.

 ¶25.) It was not timely filed. (UC Reply at 5-8.) SCO did not file its unfair

 competition claim until March 2003, more than two years after the alleged breach

 to which the claim relates.14

              IBM’s alleged breach of the JDA and misappropriation of code

 occurred, by SCO’s own account, in December 1999. (A124-126; UC Mot. ¶11.)

 IBM’s inclusion of the code in its AIX for Power product was known to Santa

 Cruz and the market generally by October 2000. (UC Mot. ¶¶ 13,14.) Consistent

 with that fact, SCO’s own expert (Christine A. Botosan) purported to calculate

 damages for SCO’s unfair competition claim beginning on October 1, 2000.

 (Id. ¶15.) Thus, even if (contrary to fact) IBM engaged in unfair competition by

 using code provided in Project Monterey, that alleged tort occurred no later than

 October 2000. Because SCO failed to file this action prior to October 2002, its

 unfair competition claim is time barred.

     14
        Courts enforce contractual provisions that not only limit the time to bring
 suit, but also establish when a cause of action accrues. See Oriskany Cent. Sch.
 Dist. v. Edmund J. Booth Architects, 615 N.Y.S.2d 160, 161 (App. Div. 1994).

                                            29
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016    Page: 42



          C.   SCO’s Claim Also Is Preempted by Federal Copyright Law

               SCO’s unfair competition claim also fails for another reason not

 reached by the district court: it is preempted by federal copyright law. (UC Reply

 at 20-23.) Section 301 of the Copyright Act “preempts a state common law or

 statutory claim if: ‘(1) the work is within the scope of the subject matter of

 copyright as specified in 17 U.S.C. §§ 102 and 103; and (2) the rights granted

 under state law are equivalent to any exclusive rights within the scope of federal

 copyright as set out in 17 U.S.C. § 106.’”15 Harolds Stores, Inc. v. Dillard Dep’t

 Stores, Inc., 82 F.3d 1533, 1542-43 (10th Cir. 1996).

               Courts employ a two-prong test to determine whether a state law

 cause of action is preempted by the Copyright Act. See Briarpatch Ltd., L.P. v.

 Phoenix Pictures, Inc., 373 F.3d 296, 305 (2d Cir. 2004). “The first prong of this

 test is called the ‘subject matter requirement,’ and the second prong is called the

 ‘general scope requirement.’” Id. at 305 (citations omitted). SCO’s claim that

 IBM misappropriated SVr4 code provided during Project Monterey satisfies both

 prongs of this test.

               First, “[t]he subject matter requirement is satisfied if the claim applies

 to a work of authorship fixed in a tangible medium of expression and falling within


     15
        Section 106 of the Copyright Act grants to the copyright owner the exclusive
 rights to: (1) reproduce the copyrighted work; (2) prepare derivative works;
 (3) distribute copies of the work; (4) perform the work publicly; and (5) display the
 work publicly. 17 U.S.C. § 106.

                                            30
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 43



 the ambit of one of the categories of copyrightable works”. Id. Here, SCO’s

 charge is that IBM misappropriated SVr4 code from Santa Cruz’s UnixWare 7

 Product by reproducing it in IBM’s AIX for Power product; that allegedly

 misappropriated code falls within the subject matter of federal copyright law, as

 SCO itself has argued. (UC Mot. ¶¶5-6.) Computer programming code may be

 protected under copyright law. See, e.g., Lexmark Int’l. Inc. v. Static Control

 Components, Inc., 387 F.3d 522, 533 (6th Cir. 2004).16

              Second, under the general scope requirement, “federal law will

 preempt ‘a state-created right if that right may be abridged by an act which, in and

 of itself, would infringe one of the exclusive rights’ established by federal law”.

 Gates Rubber Co. v. Bando Chem. Indus., Ltd., 9 F.3d 823, 847 (10th Cir. 1993).

 In determining whether the state law claim at issue asserts rights equivalent to

 those specified in section 106 of the Copyright Act, the court will “compare the

 elements of the causes of action, not the facts pled to prove them”. Harolds Stores,

 Inc., 82 F.3d at 1543 (emphases added). Applying this test, courts have concluded

     16
        Any argument by SCO that its unfair competition claim is not equivalent to a
 copyright claim would contradict its own prior positions. As discussed in Section
 III below, SCO requested leave to amend its complaint to assert a cause of action
 for copyright infringement based upon that very same conduct. SCO’s proposed
 Tenth Cause of Action asserted that “IBM misappropriated, and used in its own
 ‘AIX for Power’ operating system, substantial copyrighted source code relating to
 UnixWare System V Release 4”. (A383 ¶217.) SCO further alleged that “IBM
 obtained access to the copyrighted UnixWare SVr4 code through ‘Project
 Monterey’”. (Id.) SCO thus asserted that the SVr4 source code that now forms the
 basis for its Monterey unfair competition claim is copyrighted, and asserted a claim
 under federal law for IBM’s alleged infringement of SCO’s copyrights.

                                           31
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016     Page: 44



 that copying-based unfair competition claims are preempted by federal copyright

 law. See, e.g., R.W. Beck, Inc. v. E3 Consulting, LLC, 577 F.3d 1133, 1147 (10th

 Cir. 2009); Ehat v. Tanner, 780 F.2d 876, 878 (10th Cir. 1985); Durham Indus. v.

 Tomy Corp., 630 F.2d 905, 918-19 & n.15 (2d Cir. 1980); Twentieth Century Fox

 Film Corp. v. Marvel Enters., Inc., 155 F. Supp. 2d 1, 24-25 (S.D.N.Y. 2001).

              The procedural history of SCO’s unfair competition claim concerning

 Project Monterey confirms that the claim is pre-empted. SCO sought to assert a

 copyright claim to challenge IBM’s use of SVr4 code in AIX for Power, but the

 district denied SCO leave to amend to assert the claim, for the reasons stated in

 Section III below. Only then did SCO seek to back-door its copyright allegations

 into its unfair competition claim. (A1390-1400; A1837; A1796.17) SCO cannot

 permissibly avoid the district court’s ruling precluding its claim for copyright

 infringement by recharacterizing those same allegations as a claim for unfair

 competition. See Ehat, 780 F.2d at 876 (“[Plaintiff] ‘cannot achieve by an unfair

 competition claim what [he] failed to achieve under [his] copyright claim.’

 (quoting Durham Indus., Inc., 630 F.2d at 918)).




     17
       The full version of the document referenced at A1796 (SCO’s Disclosure of
 Materials Allegedly Misused by IBM) was omitted from the Joint Appendix due to
 size. The relevant portion is attached hereto as Exhibit A.

                                          32
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 45



 II.   THE DISTRICT COURT PROPERLY ENTERED SUMMARY
       JUDGMENT REGARDING SCO’S INTERFERENCE CLAIMS

              SCO’s tortious interference claims likewise fail. The district court

 properly rejected the claims for two independent reasons: (1) SCO failed to

 adduce any evidence of actionable interference by IBM; and (2) SCO failed to

 show IBM caused SCO’s alleged injury. The claims also fail for reasons not

 reached by the district court: IBM did not act by improper means, and IBM’s

 alleged conduct is privileged.

       A.     SCO Failed To Adduce Admissible Evidence of Actionable
              Interference by IBM

              SCO alleged two types of interference: direct interference with

 existing business relationships; and indirect interference with an alleged UNIX-on-

 Intel market. The district court properly rejected both theories.

              1.    IBM Did Not Interfere with Any of the Identified
                    Relationships

              Despite its sweeping claims in the press, SCO ultimately identified

 just six entities whose relationships with SCO IBM was alleged to have interfered

 directly: BayStar, Computer Associates, Oracle, Intel, HP and the Open Source

 Conference. As the district court found, however, SCO failed to identify “any

 evidence of improper conduct by IBM that interfered with any of its contracts or

 business relationships”. (A9646.)




                                          33
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016    Page: 46



              Although SCO contends that it “has ample evidence that IBM

 intentionally interfered with SCO’s economic relationships” (SCO Br. at 39), it

 offered no such evidence to the district court, and it fails to refer this Court to any

 such evidence. Conclusory assertions aside, SCO points only to a supposed

 strategy by IBM to discontinue plans to work with SCO and to ask IBM partners to

 do the same. (Id. at 40-41.)

              As is further discussed below (see Section II.C), however, that is not

 actionable interference. SCO cited no case in the district court, and cites no case in

 this Court, holding that it is. Nor are we aware of any such case. Tort law does

 not compel a company to do business with another; nor does it preclude a company

 from expressing the view that others should not deal with a particular company.

 That is especially so where, as here, the company with whom IBM allegedly asked

 others to disassociate (SCO) was embarking on a far-flung campaign to sue IBM

 and others, threatening legitimate IBM business interests, and, as this Court’s

 rulings have since confirmed, making false claims to have rights to Linux and

 UNIX that it did not have. (See A207-212.)

              Moreover, IBM submitted sworn testimony from both IBM

 representatives and from representatives of each of the entities with which IBM

 was alleged to have meddled, demonstrating the falsity of SCO’s allegations. SCO

 faults the district court for relying on this evidence on the grounds that: (1) IBM’s

 declarations were self-serving; (2) declarants speaking for the entities with which
                                            34
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 47



 IBM supposedly interfered might not have been aware of all IBM’s alleged

 misconduct; and (3) the declarations “provide[d] no opportunity, with the trier of

 fact observing, to probe the certainty of the witnesses’ memory and the scope of

 their personal knowledge”. (SCO Br. at 43.) As an initial matter, SCO failed to

 make more than passing references to these arguments in the district court and has

 not argued that the district court’s reliance constituted plain error. Moreover,

 declarations are a permissible means of presenting evidence in support of a

 summary judgment motion. Bryant v. Farmers Ins. Exch., 432 F.3d 1114, 1122

 (10th Cir. 2005). And a witness is not precluded from testifying on behalf of an

 organization. See, e.g., Dona Ana Mut. Domestic Water Consumers Ass’n v. City

 of Las Cruces, 516 F.3d 900, 912 (10th Cir. 2008). SCO’s arguments are not only

 contrary to established summary judgment practice, but they are also at odds with

 its own approach in moving for summary judgment.18

              Furthermore, the burden was on SCO (not IBM) to adduce admissible

 evidence that IBM interfered with SCO’s relations and it failed to do so, despite

 being given ample opportunity. Tellingly, SCO complains that the district court

 “improperly excluded testimony of SCO’s Darl McBride that Lawrence Goldfarb

 of BayStar, who invested in SCO, ‘expressly stated . . . that IBM had been “on


     18
       SCO submitted declarations from witnesses with a stake in the outcome (i.e.,
 its CEO) and from witnesses who purported to speak on behalf of the entities for
 which they worked. (See A9005, A9026, A9040.)

                                          35
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016   Page: 48



 him, on him, on him” to retract his support for SCO.’” (SCO Br. at 44.) However,

 Mr. McBride’s claim about what Mr. Goldfarb said is classic inadmissible hearsay,

 and it is contrary to Mr. Goldfarb’s admissible and unrefuted testimony that IBM

 did not interfere with SCO’s business relationship with BayStar, that no one from

 IBM ever had any communications with him and that “BayStar’s decision to

 terminate its relationship with SCO had nothing whatsoever to do with any

 communications with or conduct of IBM.” (A2522; A9649.)

              2.     SCO’s Claim of Indirect Interference Is Baseless

              Unable to show any direct interference by IBM, SCO alleges that IBM

 interfered indirectly with its prospective business relationships with “former SCO

 customers” and “other Linux users” (i.e., the “UNIX-on-Intel marketplace” in

 general). (A1765; A1769.) As the district court correctly held, however,

 “indirect” interference or “interference with the market” is not a cognizable claim

 under Utah law. (A9671-72.)

              SCO asserts that “SCO’s Claims of Indirect Interference with

 Potential Customers are Actionable”. (SCO Br. at 44.) Tellingly, SCO devotes

 scant space to this argument and fails to offer a single case supporting its theory of

 indirect interference. (Id.) In fact, both Utah law (which controls these claims)

 and the laws of other states foreclose SCO’s theory of indirect interference. (See

 TI Mot. at 48-50 (citing cases).)



                                           36
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 49



        B.     IBM Did Not Cause Any Injury to SCO

               In addition to the fact that it cannot show cognizable interference,

 SCO’s interference claims fail because, as the district court held, “there is no

 causal link between IBM’s alleged acts and SCO’s [alleged] injury” (A9676).

               1.    SCO Failed To Identify Any Damages Resulting from
                     IBM’s Alleged Interference

               In support of its motion for summary judgment, IBM showed that

 SCO could not identify any damages resulting from any acts of alleged

 interference by IBM. (TI Mot. ¶ 66.) Specifically, IBM demonstrated that SCO

 failed to disclose its alleged damages in response to IBM’s interrogatories (TI

 Reply at 33-34); that SCO’s Rule 30(b)(6) witness on damages was incapable of

 identifying “any damages that SCO may have suffered with respect to a particular

 company with which SCO alleges IBM interfered” (TI Opp. at 90); and that none

 of SCO’s experts attempted to quantify or even address the alleged damages

 caused by IBM’s alleged tortious interference with SCO’s contractual or business

 relations (id.).

               Although SCO bore the burden to adduce admissible evidence to the

 contrary, SCO did not point the district court to any admissible evidence at all.

 While purporting to dispute IBM’s claim that SCO had suffered no damages, SCO

 conceded it could not dispute the specific testimony cited by IBM and stated

 simply that “SCO’s damages for IBM’s acts of interference are subsumed within


                                           37
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 50



 and coterminous with SCO’s damages for its breach of contract claims, and those

 damages were addressed by SCO’s experts”.19 (Id.) For this reason alone, the

 district court properly entered summary judgment against SCO for failure to

 identify and articulate damages. (A9676.) Facts not properly disputed in response

 to a motion for summary judgment are deemed admitted. Kilcrease v. Domenico

 Transp. Co., 828 F.3d 1214, 1225 (10th Cir. 2016); Tadlock v. LaHood, 550 Fed.

 App’x 541, 546-47 (10th Cir. 2013); Fierro v. Norton, 152 Fed. App’x 725, 729-30

 (10th Cir. 2005).20

              SCO faults the district court for insisting on too much precision in the

 computation of damages. (SCO Br. at 47-48.) According to SCO, its experts

 provided enough evidence to get to a jury on the issue of damages because they

     19
        Notably, SCO failed to cite any evidence for this statement. In fact, before
 opposing IBM’s summary judgment motion, SCO never claimed that its
 interference damages were “subsumed within” or “overlap[ped]” with its claimed
 damages for breach of contract or copyright infringement. Because SCO waited
 until after fact and expert discovery closed to identify its “indirect interference”
 damages, despite a specific interrogatory, several Court orders, and an independent
 obligation to supplement its discovery responses, SCO could not properly make
 this claim to create a disputed issue of fact.
     20
        SCO failed to disclose any admissible evidence of damages during
 discovery. IBM’s Interrogatory No. 24 asked SCO to describe “all of the alleged
 damages to plaintiff that were proximately caused by IBM, including, but not
 limited to . . . the amount of the alleged damages . . . the basis for the alleged
 damages . . . [and] the precise methodology by which the damages were
 calculated”. (A1751.) In response, SCO merely stated that an answer to this
 interrogatory would be provided “in expert reports”, which, as stated, SCO failed
 entirely to do. See Cambridge Elecs. Corp. v. MGA Elecs., Inc., 227 F.R.D. 313,
 313, 321-25 (C.D. Cal. 2004) (eliminating plaintiff’s evidence in opposition to
 summary judgment motion, and granting motion, because plaintiff’s evidence was
 not identified in response to defendant’s interrogatories); see also Fed. R. Civ. P.
 37(c)(1).

                                          38
Appellate Case: 16-4040    Document: 01019715004      Date Filed: 11/02/2016    Page: 51



 assert there was a “crash of the UNIX-on-Intel market”, SCO lost revenue with the

 “precipitous decline of revenue from Santa Cruz’s UNIX-operating systems”, and

 IBM experienced “gains in revenue”. (Id. at 47.) However, the district court did

 not enter summary judgment against SCO because it failed to prove the quantum of

 damages with precision; it did so (properly) because SCO failed to prove any

 amount of damages. See L&M Enters., Inc. v. BEI Sensors & Sys. Co., 231 F.3d

 1284, 1287 (10th Cir. 2000) (“Unsupported conclusory allegations . . . do not

 create a genuine issue of fact.”). Contrary to SCO’s suggestion, SCO’s expert

 reports do not even attempt to describe or quantify its alleged interference

 damages.21 (TI Opp. at 90.)

              2.    SCO Cannot Show IBM Caused the Alleged Damages

              As the district court held, “Even if SCO had articulated a specific

 damages amount tied to specifically identifiable third parties who reduced or

 ceased doing business with SCO, SCO’s interference claims also fail for a lack of

 causation.” (A9676-77.)

              With respect to its claim of “direct interference”, SCO failed to show

 IBM caused any damage to SCO because each of the entities with which IBM

     21
        SCO’s experts do not, for example, quantify (or even discuss) the alleged
 “loss of support” from HP, Computer Associates, Oracle or Intel that allegedly
 occurred after the January 2003 LinuxWorld event, or the amount of damage to
 SCO’s business caused by this alleged “loss of support”. SCO does not dispute
 that its Rule 30(b)(6) witness on this precise subject was utterly incapable of
 identifying “any damages that SCO may have suffered with respect to a particular
 company with which SCO alleges IBM interfered”. (TI Opp. at 90.)

                                          39
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 52



 allegedly interfered testified that, to the extent its business relationships with SCO

 changed, it was for reasons entirely unrelated to IBM. (See A2311; A2375; IBM

 A2854; A3066-70; A3074; A4817.) SCO does not refute this testimony; it simply

 asks the Court to disregard it. Not only is there no basis for doing that (which

 would still not carry SCO’s burden), but also it ignores SCO witnesses who

 testified that IBM did not interfere with these business relationships. SCO

 witnesses, for example, have testified that “any change in the relationship between

 SCO/Caldera and Computer Associates . . . had to do with SCO’s [alleged]

 decision not to continue to distribute Linux products” (TI Mot. ¶ 50(a)), and any

 change in SCO’s relationship with Intel was caused by SCO allegedly “ceasing to

 distribute a Linux operating system and Linux products more so” (id. ¶ 50(c)). The

 unrefuted testimony of each of the disinterested companies with which IBM

 allegedly interfered, coupled with SCO’s own admissions, demonstrates

 conclusively that SCO has suffered no damages in connection with its “direct

 interference” claims.

              SCO offered even less evidence of causation as to its theory of

 “indirect” interference. By its own account, SCO’s claim for interference with the

 “Unix on Intel market” “is not []company specific”; “IBM’s taking Linux to the

 enterprise could conceivably have interfered with everybody, you know”; SCO did

 “not allocat[e] a specific dollar amount to each of [those entities] anyway” because

 SCO’s claim “is more of a tortious interference perspective, business relationships
                                           40
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 53



 for the Unix on Intel market as a whole”. (TI Opp. ¶ 66(c).) That SCO’s business

 declined after IBM allegedly interfered with the market as a whole does not

 demonstrate that IBM’s alleged misconduct (which is inactionable for the reasons

 describe above and below) caused SCO’s alleged injury.22 Truck Ins. Exch. v.

 MagneTek, Inc., 360 F.3d 1206, 1216 (10th Cir. 2004) (affirming summary

 judgment because plaintiff failed to adduce non-speculative evidence supporting

 causation); Martinez v. CO2 Servs., 12 Fed. App’x 689, 696-97 (10th Cir. 2001)

 (same).

              Moreover, as the district court ruled, “there were many other issues in

 SCO’s business and relationships, at least some of which predated or were entirely

 independent of IBM, which could have contributed to SCO’s decline, further

 interrupting any causal chain between IBM and SCO’s alleged injury”. (A9677.)

 SCO contends the district court did not specifically identify “these issues” (SCO

 Br. at 46), but, in fact, it did. The district court describes extensively the problems

 adversely affecting SCO’s business (independent of any actions of IBM) in its

 opinion. (A9656-57; A9667-68; A9677.)

     22
        If, as SCO claims, its alleged damages are “subsumed within” or “overlap”
 with its claimed damages for breach of contract or copyright infringement, then
 SCO’s interference claims are also barred because (i) SCO’s contract and
 copyright claims have been dismissed, and SCO has not appealed the dismissal; (ii)
 SCO’s copyright claim and associated damages had nothing to do with its
 interference claims; and (iii) to the extent SCO’s interference claims are based on
 its now-rejected contract claims, they would be foreclosed under the economic loss
 doctrine. See Associated Diving and Marine Contractors v. Union Pac. RR, No.
 2:01 CV330, 2003 U.S. Dist. LEXIS 21560 *20 (D. Utah July 10, 2003).

                                           41
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016      Page: 54



               “SCO’s theory of causation and damages [was] based on a common

 logical fallacy: post hoc ergo propter hoc: because one event happens after

 another, the first event was a cause of the second event.” (A9677.) SCO’s own

 witnesses and documents confirm that not only did IBM’s Linux activities not

 cause SCO’s decline, but also that the decisions of SCO’s management (and those

 of its predecessors) did. Because SCO provided no evidence that IBM’s alleged

 interference caused SCO harm, its interference claims fail as a matter of law.

       C.     IBM Did Not Act by Improper Means and IBM’s Alleged
              Conduct Is Privileged

              Finally, SCO’s interference claims also fail for reasons not reached by

 the district court. Specifically: (1) none of the alleged acts of interference

 constitutes “improper means”; and (2) the challenged conduct is privileged as a

 matter of law.

              1.     IBM’s Alleged Acts Were Not Undertaken by Improper
                     Means

              To establish intentional interference by improper means, SCO was

 required to show that “the means used to interfere with [its] economic relations are

 contrary to the law, such as violations of statutes, regulations, or recognized

 common-law rules.” Leigh Furniture, 657 P.2d at 308. Improper means

 commonly include violence, threats, deceit, defamation or disparagement, or

 violation of some established standard. Id.



                                           42
Appellate Case: 16-4040    Document: 01019715004        Date Filed: 11/02/2016      Page: 55



              SCO failed to adduce evidence IBM resorted to improper means.

 SCO claims only that IBM asked HP and others not to do business with SCO.

 Such requests (even assuming, contrary to fact, they were made) simply do not

 constitute “improper means” as contemplated by the law. The Utah Supreme

 Court has stated that “efforts to persuade others . . . not to deal with certain

 entities” is, in fact, an example of “legitimate persuasion”. Id. at 303.23

              2.     IBM’s Alleged Acts Are Privileged as They Advance IBM’s
                     Legitimate Competitive Interests

              Although the Utah courts often discuss “the competition privilege”

 while analyzing the issue of improper purpose, the protection and advancement of

 legitimate competitive interests in itself is a complete, affirmative defense to a

 claim of tortious interference. See Gull Labs., Inc. v. Diagnostic Tech., Inc., 695 F.

 Supp. 1151, 1155 (D. Utah 1988). The undisputed evidence showed that IBM

 undertook to support Linux in good faith to further its own competitive interests.

 Dan Frye, co-founder of and Vice President responsible for managing IBM’s

 Linux Technology Center, testified: “IBM undertook its Linux business strategy,

 and made contributions to Linux, in the good faith belief that these activities were

 permissible.” (TI Mot. ¶62.) SCO’s own experts acknowledged that IBM

 supported Linux for business and competitive reasons. (A3517-18; A3524-27;
     23
        SCO purports to incorporate allegations of improper means included in its
 motion papers in the district court. But that is not a permissible basis for an
 appeal, and even if it were, the means identified in SCO’s brief in the district court
 are refuted in IBM’s brief.

                                            43
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 56



 A7249; A7254-60.) SCO itself stated that “competitive reasons [focused on Sun

 and Microsoft] . . . motivated IBM to formulate a Linux strategy.” (TI

 Mot. ¶63(d).)

 III.   THE DISTRICT COURT PROPERLY DENIED SCO’S MOTION
        FOR LEAVE TO AMEND TO ASSERT A COPYRIGHT CLAIM

              The district court properly rejected SCO’s motion to amend under

 Rule 16(b), because SCO failed to show cause for its delay in seeking leave to

 amend. The district court’s denial of leave to amend also should be affirmed on

 the alternative ground that SCO failed to meet the requirements of Rule 15(a).

        A.    SCO Failed To Satisfy Rule 16(b) or the Court’s Order of
              June 10, 2004

              Where, as here, a court-ordered deadline to amend has passed, a party

 seeking leave to amend must satisfy the requirements of Rule 16(b). See Birch v.

 Polaris Indus., 812 F.3d 1238, 1247 (10th Cir. 2015). Rule 16(b) provides that a

 scheduling order “shall not be modified except upon a showing of good cause and

 by leave of the [Court]”. Fed. R. Civ. P. 16(b).

              In this case, after twice allowing SCO to amend its complaint and

 following substantial discovery, the district court entered an order providing that

 the court would not further modify the Scheduling Order, which included a

 deadline for amending the pleadings, absent “extremely compelling

 circumstances”. (A1082; A1837.) That is because SCO had already amended its



                                          44
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 57



 pleadings multiple times, yet still was threatening to further prolong litigation in

 the district court.

               SCO not only fails to show “extremely compelling circumstances” for

 yet another amendment to its twice-amended complaint, but it also fails to mention

 the standard. In any case, SCO came nowhere close to showing even good cause

 for expanding the case. Thus, the district court did not abuse its discretion in

 denying leave to amend.

               To begin, SCO sought to amend its complaint to add a claim for

 copyright infringement more than 19 months after commencement of the litigation.

 By that time, “the deadline for seeking leave to further amend ha[d] long since

 passed”. (A1837.) The district court had already allowed two amendments to

 SCO’s complaint and discovery was about to close. As the district court found,

 SCO’s proposed amendment would have “expanded this already sizable and

 complex litigation and would [have] served only to delay its resolution”. (Id.)

 Even without the proposed claim, it has taken more than 13 years to reach the

 present appeal.

               Moreover, as the district court also found, “SCO delayed seeking

 leave to assert the proposed cause of action”. (Id.) It missed by more than eight

 months the deadline that the district court made clear it would move only upon a

 showing of extremely compelling circumstances, despite the fact that the company

 in whose shoes SCO purports to stand (Santa Cruz) plainly knew IBM used the
                                           45
Appellate Case: 16-4040    Document: 01019715004      Date Filed: 11/02/2016     Page: 58



 code in question well before SCO filed its original complaint. Although SCO

 claimed to have only recently discovered that IBM copied SCO’s UnixWare/SVr4

 code into its AIX for Power product, SCO had long been in possession of the very

 facts that it claimed serve as the basis for its new infringement claim. As stated,

 the JDA specifically envisioned IBM’s use of the code in IBM’s AIX products.

 Moreover, SCO (not just Santa Cruz) was well aware (or would have been had it

 exercised due diligence) that IBM did in fact incorporate certain UnixWare/SVr4

 code into its AIX for Power product. 24 (A737-38; A742; A744; A759; A776;

 A780; A822-23; A863-76.)

               Thus, SCO had no excuse for waiting eight months after the deadline

 for amending pleadings had passed to bring its motion.

          B.   Leave To Amend Is Improper Under Rule 15(a)

               The district court also properly denied SCO’s motion for leave to

 amend under Rule 15(a). A district court does not abuse its discretion in denying a

 motion to amend where there is (1) undue delay, (2) undue prejudice to the

 opposing party, (3) bad faith or dilatory motive on the part of the movant or




     24
       Even if SCO were not imputed with Santa Cruz’s knowledge (which it is,
 since SCO claims to be Santa Cruz’s successor-in-interest and many of the above-
 cited documents were produced to IBM by SCO), if SCO had exercised any
 diligence during and upon its acquisition of Santa Cruz’s assets in 2001, it would
 have uncovered the facts it now claims it only learned upon review of IBM’s
 document production in this case.

                                          46
Appellate Case: 16-4040   Document: 01019715004        Date Filed: 11/02/2016        Page: 59



 (4) futility of the proposed amendment. See Frank v. U.S. West, Inc., 3 F.3d 1357,

 1365 (10th Cir. 1993). In this case, all four factors weighed against SCO’s motion.

              1.    SCO Unduly Delayed Moving To Amend Its Complaint

              As stated, SCO delayed unduly in seeking leave to amend. SCO

 brought its motion more than 19 months after it filed its original complaint and

 eight months after the deadline imposed by the district court for amending

 pleadings. As SCO could not articulate a credible or justifiable reason for this

 substantial delay—since, as discussed, SCO knew (or should have known) of the

 facts purportedly supporting its new claim for copyright infringement before it

 filed its original complaint—the delay alone is reason to deny the motion. See U.S.

 West, 3 F.3d at 1365-66; see also Las Vegas Ice and Cold Storage Co. v. Far West

 Bank, 893 F.2d 1182, 1185 (10th Cir. 1990).

              2.    IBM Would Have Been Unduly Prejudiced by the Addition
                    of the Copyright Claim

              In addition, the district court properly exercised its discretion in

 denying SCO’s motion because allowing SCO to amend would have unduly

 prejudiced IBM. IBM had long demonstrated a legitimate interest in having the

 important issues presented by SCO’s lawsuit resolved promptly, so that IBM and

 other Linux users could go about their business without any of the fear, uncertainty

 and doubt concerning Linux that SCO was fostering in the marketplace. Despite

 SCO’s assertions to the contrary, allowing SCO to add a new claim at the eleventh


                                           47
Appellate Case: 16-4040      Document: 01019715004       Date Filed: 11/02/2016   Page: 60



 hour would have expanded the scope and precluded a prompt resolution of the

 case.

                 SCO’s proposed new claim would have radically expanded the case at

 the eleventh hour. Whereas SCO identified 326 lines of allegedly infringing code

 in Linux (as to which the parties took discovery for several years), SCO’s proposed

 copyright claim regarding Project Monterey purportedly implicated more than

 780,000 lines of additional code, which, by any reasonable estimate, would have

 required far more discovery. (See Dkt. No. 337 at 16.) Moreover, SCO’s proposed

 new claim raised issues concerning the negotiation, execution and performance of

 the JDA between Santa Cruz and IBM and the specific contents of IBM’s AIX for

 Power product, which were not then part of this case.

                 SCO’s argument that its proposed claim for copyright infringement

 would not have been prejudicial, because it did not raise any issues beyond those

 already in the case, is based on a misreading of IBM’s Ninth Counterclaim. The

 Ninth Counterclaim sought only a declaration that SCO’s purported termination of

 IBM’s UNIX System V licenses—the agreements specified in the first four counts

 in SCO’s Second Amended Complaint—was invalid and that SCO thus had no

 claim for copyright infringement based on such purported termination.25

 (A232-33.) IBM’s Ninth Counterclaim did not seek any declaration concerning


     25
          In fact, IBM offered to stipulate to this limitation on its Ninth Counterclaim.

                                             48
Appellate Case: 16-4040    Document: 01019715004      Date Filed: 11/02/2016   Page: 61



 any of IBM’s rights and obligations under the Project Monterey JDA. Indeed, it

 would have made little sense for IBM to bring a claim against SCO seeking a

 declaration of rights relating to the JDA since SCO was not a party to the JDA in

 the first place.

               Furthermore, SCO’s claim that the district court abused its discretion

 in “artificially narrowing IBM’s counterclaim so it could find that SCO’s proposed

 copyright claim would ‘expand’ the litigation” is meritless. As an initial matter,

 the district court granted summary judgment for IBM on its Ninth Counterclaim,

 and SCO elected not to appeal that ruling, such that it cannot now assign error

 indirectly. See Grynberg Prod. Corp. v. Susman Godfrey, L.L.P., No. 10-1248,

 2012 U.S. App. LEXIS 3316 (10th Cir. Feb. 16, 2012); Crocker v. Piedmont

 Aviation, 311 U.S. App. D.C. 1, 49 F.3d 735, 739-40 (1995). In any case, SCO’s

 contention that the district court narrowed IBM’s claims so that it could find that

 SCO’s proposed copyright claim would expand the case: (i) impugns the district

 court’s motives without evidentiary support; (ii) ignores the fact that IBM (as

 author of its counterclaim) was permitted to assert a narrow construction; and

 (iii) disregards the fact that IBM could not have brought the declaratory judgment

 counterclaim SCO contends IBM brought because there was no case and

 controversy as to that claim. (Dkt. No. 407 at 8.)




                                           49
Appellate Case: 16-4040     Document: 01019715004      Date Filed: 11/02/2016      Page: 62



              3.     SCO Moved To Amend Its Complaint Solely in an Attempt
                     To Delay Further the Resolution of the Case

              The district court was also justified in denying SCO’s motion because

 it was plainly brought to seek further delay in the resolution of this case. As

 explained in IBM’s briefing before the district court, it was SCO’s strategy from

 the outset of this litigation to seek to delay the proceedings, apparently to further

 the fear, uncertainty and doubt that SCO had created concerning Linux and IBM’s

 products and services.26

              SCO’s motion to amend was just part and parcel of SCO’s delay

 tactics. In particular, the motion was crafted specifically to evade the district

 court’s admonition in its June 10, 2004 Order that the scheduling order in this case

 would not be modified again “absent extremely compelling circumstances”. (Dkt.

 No. 177 at 3; A1837.) After the district court issued the June 10, 2004 Order, SCO

 regularly noted in briefs its dissatisfaction with the discovery schedule and its

 intention to bring yet another motion to amend the scheduling order. For example,

 SCO argued on September 24, 2004, in support of its ironically-titled motion to

 “enforce” the scheduling order, that “a modification of the schedule will inevitably

     26
       SCO successfully delayed the deadline for amending pleadings prior to the
 motion at issue on this appeal. The district court’s original scheduling order issued
 on July 10, 2003 established October 1, 2003 as the deadline for the amendment of
 pleadings. SCO filed its First Amended Complaint on July 22, 2003 and, on
 September 26, 2003, filed a motion (which IBM opposed) seeking to extend the
 deadline for amending pleadings until February 4, 2004. The district court granted
 the motion and SCO filed its Second Amended Complaint on the last day
 permitted, February 4, 2004.

                                           50
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016    Page: 63



 become necessary” and that SCO intended to “make an appropriate motion” after

 the magistrate judge ruled on certain discovery issues. (See Dkt. No. 308 at 18.)

 Instead of making any properly-supported motion to amend the scheduling order

 (or waiting for the magistrate to rule, for that matter), SCO instead attempted to

 help itself to an extension by filing a motion to assert a claim against IBM that

 required new and different discovery just a few months before discovery was

 supposed to end. If the district court had granted SCO’s motion to amend, it would

 no doubt have been followed immediately by a motion from SCO seeking to

 extend discovery. The proposed claim implicated hundreds of thousands of lines

 of source code with which SCO had never before taken issue. See, e.g., D’Zurella

 v. Kansas, No. 90-3202, 930 F.2d 33, 1991 WL 47101, at **1 (10th Cir. Mar. 18,

 1991) (identifying “prejudice to defendants from the need to undertake additional

 discovery” as part of rationale for affirming denial of motion to amend complaint).

              The timing of SCO’s motion to amend is particularly instructive.

 SCO filed the motion on October 14, 2004, just two weeks after the district court

 denied SCO’s emergency request for a scheduling conference, at which SCO by its

 own admission intended to propose an extension of discovery. This timing is not

 coincidental. It was clear from SCO’s actions that, at least as of August 2004,

 SCO was in possession of the very IBM internal documents that it appended to its

 motion—indeed, it was disclosing the substance of those documents (we believe

 improperly) to the media. (A878-89; A881-82.) Yet, notably, SCO did not seek to
                                          51
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016      Page: 64



 amend its pleadings based on such documents until after the district court denied

 SCO’s attempt informally to amend the scheduling order.

              The facts and circumstances surrounding SCO’s motion reveal that

 SCO’s true motivation was merely to delay the case unnecessarily. That is not

 proper, and the district court correctly denied SCO’s motion. A party may not use

 the amendment process as a tactic for obtaining expanded discovery. See, e.g., Sil-

 Flo, Inc. v. SFHC, Inc., 917 F.2d 1507, 1518-19 (10th Cir. 1990). Nor can SCO be

 heard to blame IBM for SCO’s delay by claiming that IBM improperly delayed the

 production of documents. IBM satisfied its discovery obligations; the district court

 never ruled otherwise; and SCO’s brief fails altogether to substantiate its claim.

              4.    The Proposed Copyright Claim Is Futile

              Finally, the district court was justified in denying leave to amend

 because the proposed claim was futile, and a court “properly may deny a motion

 for leave to amend as futile.” Bauchman v. West High School, 132 F.3d 542, 562

 (10th Cir. 1997). SCO’s proposed claim was futile because SCO sought to bring it

 in the wrong forum, and it was barred by a contractual statute of limitations.

              As stated, Section 22.3 of the JDA provides in relevant part: “Any

 legal or other action related to a breach of this Agreement must be commenced no




                                          52
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 65



 later than two (2) years from the date of the breach in a court sited in the State of

 New York”. (A454-55 § 22.3.)27

              Under Section 22.3 of the JDA, SCO’s proposed claim for copyright

 infringement would have been subject to dismissal because it was not brought “in a

 court sited in the State of New York”. For that reason alone, SCO’s copyright

 claim would have been futile. Notably, SCO makes no mention of the forum

 selection clause, and offers no explanation as to why it never timely sought to

 proceed in New York as required by the JDA.

              Moreover, SCO’s proposed claim was time-barred, because it was not

 brought within the two-year statute of limitations provided for in Section 22.3. In

 its own proposed complaint, SCO alleged that IBM began distributing the AIX for

 Power product containing the allegedly infringing code “at least by October 2000”.

     27
        Section 22.3 of the JDA plainly applies to SCO’s claim for copyright
 infringement because the claim is “related to” an alleged breach of the JDA. IBM
 could only have been liable for copyright infringement if IBM exceeded the scope
 of the license to the purportedly copyrighted materials granted under the JDA.
 Thus, SCO’s proposed claim for copyright infringement necessarily depended on
 the interpretation and meaning of the JDA. In such circumstances, courts have
 routinely held that contractual forum selection clauses apply to other claims
 brought by a plaintiff, including claims for copyright infringement. See e.g.,
 Omron Healthcare, Inc. v. Maclaren Exports Ltd., 28 F.3d 600, 603 (7th Cir.
 1994). Moreover, although Section 22.3 does not expressly mention a claim for
 copyright infringement, Section 20.1 expressly excepts claims for copyright
 infringement from the $5 million limitation on liability for actual damages. (A453
 § 20.1.) Thus, the JDA expressly contemplated that copyright claims, related to a
 breach of the JDA, might arise. The fact that the parties expressly excepted
 copyright claims from the $5 million limitation provision in Section 20.1, but did
 not except copyright claims from the forum and limitations provisions in Section
 22.3, demonstrates that the parties intended Section 22.3 to govern copyright
 claims.

                                           53
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 66



 (A389.) Thus, under SCO’s own theory, IBM first breached the JDA (and

 therefore began to commit the alleged copyright infringement) at least as early as

 October 2000, meaning SCO was required to bring a claim against IBM by

 October 2002.28 As SCO did not seek to bring the proposed claim until October

 2004, the claim was barred by the terms of the JDA.

              Any claim by SCO that IBM waived the right to enforce Section 22.3

 by filing its Ninth Counterclaim against SCO is baseless. Section 22.11 of the

 JDA provides unambiguously that “[n]o . . . waiver of any provision of this

 Agreement shall be effective unless it is set forth in a writing which refers to the

 provisions so affected and is signed by an authorized representative of each Party.”

 (A456.) IBM never executed such a writing setting forth its intention to waive

 Section 22.3 of the JDA, and thus cannot be held to have waived its rights under

 that provision. Moreover, and as discussed above in Section III.B.2, IBM’s Ninth

 Counterclaim does not, and was never intended to, seek a declaration concerning

 IBM’s rights under the Project Monterey JDA with Santa Cruz. Rather, the Ninth

 Counterclaim sought a declaration that IBM’s continued distribution of AIX after

 SCO’s purported termination of IBM’s UNIX System V licenses from AT&T did


     28
       SCO cannot rely on its contention that it did not discover IBM’s allegedly
 wrongful conduct until just before it sought leave to amend to avoid Section 22.3.
 As an initial matter, the time limitation in Section 22.3 explicitly runs “from the
 date of the breach”, not the date that such breach was discovered. Moreover, as
 discussed above (Section III.A), SCO plainly was aware or should have been
 aware of IBM’s conduct by at least October 2000.

                                           54
Appellate Case: 16-4040   Document: 01019715004       Date Filed: 11/02/2016   Page: 67



 not infringe any of SCO’s purported copyrights.29 There was therefore no basis for

 the district court to infer, as SCO suggests it should have, that IBM waived its

 rights under Section 22.3 by asserting its Ninth Counterclaim in this case.

              In sum, since SCO’s proposed copyright claim should have been

 dismissed under Section 22.3 of the JDA because it was brought both in the wrong

 forum and after the contractual time limitation had expired, allowing the claim to

 be added to the case would have been futile. SCO’s motion for leave to amend

 was therefore properly denied for yet another reason.




     29
        Any argument that the interests of judicial economy justified overlooking the
 forum selection clause is baseless for the reasons detailed in IBM’s brief in the
 district court. (See Dkt. No. 337 at 16.)

                                          55
Appellate Case: 16-4040   Document: 01019715004    Date Filed: 11/02/2016   Page: 68



                                 CONCLUSION

              This Court should affirm the Judgment in favor of IBM.

 Dated: November 2, 2016

                                      Respectfully submitted,

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                                        56
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 69



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 App. P. 32(a)(5) and (6) because this brief has been prepared in a proportionally

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 brief exempted by Fed. R. App. P. 32(a)(7)(B)(iii) and 10th Cir. R. 32(b). I further

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 Procedures.

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                                           57
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 70



               STATEMENT REGARDING ORAL ARGUMENT

              IBM respectfully requests that this Court hold oral argument on this

 appeal. IBM believes that the decisional process would be aided by oral argument.

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                                         58
Appellate Case: 16-4040    Document: 01019715004       Date Filed: 11/02/2016    Page: 71



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              I hereby certify that this Brief electronically filed with Clerk of the

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 Antivirus version 12.1.6 (which is updated daily), and, according to that program,

 is free of viruses. I further certify that, pursuant to Local Rule 31.5, seven hard

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 before November 4, 2016, and the hard copies will be exact copies of the Brief as

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 Dated: November 2, 2016

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                                           59
Appellate Case: 16-4040   Document: 01019715004      Date Filed: 11/02/2016   Page: 72



                          CERTIFICATE OF SERVICE

              I hereby certify that on November 2, 2016, I caused the foregoing

 Brief of Defendant-Appellee International Business Machines Corporation to be

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